with Ru\e 55 and/or 32(b} FRGrP on

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FRED B“HM
IN THE UNITED STATES DISTRICT COURT 1 '
FOR THE WESTERN DISTRICT OF TENNESSEE 05 M m, _
WESTERN DIVISION '

 

 

 

UNITED STATES OF AMERICA
Plaintiff,

VS CR. NO. O4-20040-Ml

ROBERT SPENCER

Defendant(s)

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set a Change of Plea Hearing on Friday, May 6, 2005
at 4:00 p.m. Counsel for the defendant requested a continuance of the
present setting. The continuance is necessary to allow for additional
preparation in the case.

The Court granted the request and continued the matter for a Change
of Plea Hearing on Wednesday, June 8, 2005 at 8:45 a.m. with a trial date
of Monday, June 13, 2005 at 9:30 a.m.

The period from May 13, 2005 through June 17, 2005 is excludable
under 18 U.S.C. § BlGl{h)(S)(B)(iv) to allow defense counsel additional

time to prepare.

IT IS SO ORDERED this the (C2 day Of May, 2005.

Q… wl

JON PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

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isTRiCT COURT - WESTRE DISTRICT TENNESSEE

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Honorable J on McCalla
US DISTRICT COURT

